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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 v.                                                §    CRIMINAL NO. 4:06CR195.2
                                                   §
 JOHN WESLEY JOHNSON                               §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

          Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Court referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on February 6, 2014, to determine whether Defendant violated his supervised

 release. Defendant was represented by Denise Benson. The Government was represented by Camelia

 Lopez.

          On February 26, 2007, Defendant was sentenced by the Honorable Richard A. Schell, United

 States District Judge, to a sentence of 60 months imprisonment followed by a three-year term of

 supervised release for the offense of Carrying a Firearm During a Drug Trafficking Crime or

 Possessing a Firearm in Furtherance of a Drug Trafficking Crime. Defendant began his term of

 supervision on September 15, 2011.

          On September 16, 2013, the U.S. Probation Officer filed a Petition for Warrant or Summons

 for Offender Under Supervision (the “Petition”) (Dkt. 152). The Petition asserts that Defendant

 violated the following conditions of supervision: (1) Defendant shall not commit another federal,

 state, or local crime; (2) Defendant shall not associate with any persons engaged in criminal activity,




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 and shall not associate with any person convicted of a felony unless granted permission to do so by

 the probation officer; (3) Defendant shall refrain from any unlawful use of a controlled substance;

 (4) Defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,

 distribute, or administer any controlled substance or any paraphernalia related to any controlled

 substances, except as prescribed by a physician; and (5) Defendant shall participate in a program of

 testing and treatment for drug abuse, under the guidance and direction of the U.S. Probation Office,

 until such time as the defendant is released from the program by the probation officer.

         The Petition alleges that Defendant committed the following violations: (1) On or about

 January 18, 2013, Defendant was arrested by the Dallas, Texas, Police Department and charged with

 committing the offense of Aggravated Robbery in violation of Texas Penal Code § 29.03. It is

 alleged that Defendant, along with Antwaunn Dismuke, Quanjanae Turner, and a juvenile male,

 approached an individual in a car and robbed him at gun point. Defendant and three other

 individuals fled in a vehicle, driven by Mr. Johnson, at a high rate of speed with a flat tire. The front

 passenger of the vehicle leaned out the window and fired three shots at a pursuing Dallas Police

 Officer. Defendant and three other individuals were later stopped and detained. As of this writing,

 the charge has been presented to the Dallas County District Attorney for Grand Jury Indictment and

 Defendant remains in custody in Dallas County; (2) As evidenced by Defendant’s arrest on or about

 January 18, 2013, he associated with Antwaunn Dismuke, Quanjanae Turner, and a juvenile male

 who were engaged in criminal activity. As part of the scheme, Quanjanae Turner was dropped at a

 club where she asked the victim of the offense to give her a ride home. The victim transported her

 to the location she provided and while there Defendant and the other two individuals robbed him at

 gun point. The scheme indicates prior planning and deliberate association with the other individuals


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     to carry out the criminal activity. Additionally, Defendant violated this condition by associating with

     Antwaunn Dismuke, without the permission of the probation officer, who has previously been

     convicted of a felony, to wit, Engaging In Organized Criminal Activity on January 20, 1999, in Case

     Number 3668162598 if the 366th District Court of Collin County, Texas; (3) On October 4, 2012,

     Defendant submitted a urine specimen that tested positive for marijuana. Defendant admitted to said

     use and Alere Laboratory confirmed said positive; and (4) On January 15, 2013, Defendant failed

     to report to Pillar Mental Health Systems, Plano, Texas, to submit a urine specimen for testing as

     instructed and as part of the U.S. Probation Office’s random drug testing program.

            At the hearing, Defendant entered a plea of true to the alleged violations. Defendant waived

     his right to allocute before the district judge and his right to object to the report and recommendation

     of this Court. The Court finds that Defendant has violated the terms of his supervised release and

     that his supervised release should be revoked.

                                           RECOMMENDATION

            Pursuant to the Sentencing Reform Act of 1984 and having considered the arguments

     presented at the February 6, 2014 hearing, the Court recommends that Defendant be committed to

.    the custody of the Bureau of Prisons to be imprisoned for a term of thirty-three (33) months to run

     concurrent to any other sentence, with no supervised release to follow. The Court further

     recommends that Defendant’s term of imprisonment be carried out in the Seagoville facility, if

     appropriate.

           SIGNED this 18th day of February, 2014.

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                                                     ____________________________________
                                                     DON D. BUSH
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                                                     UNITED  STATES MAGISTRATE JUDGE
